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1                                                                   HONORABLE ROBERT S. LASNIK

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                                   UNITED STATES DISTRICT COURT
5                                 WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
6
     GRACE BURROWS, et al.,
7
                    Plaintiffs,                             Case No. 2:19-cv-01649-RSL
8
     v.
9                                                           JOINT STATUS REPORT
     3M COMPANY,
10
                     Defendant.
11
             Plaintiffs and Defendant (the "Parties") submit this Joint Status Report under the Court's
12
     January 6, 2021 Minute Order (ECF 80).
13
                                  REPORT REQUESTED BY THE COURT
14
          1. Estimated length of trial on remaining issues: The parties estimate that trial will last 12
15
     to 16 days.
16
          2. Whether settlement is possible: The parties have not reached a formal impasse on
17
     settlement discussions and have been in communication with Magistrate Judge Theiler to assist
18
     with negotiations. Settlement discussions to date have not been productive but will continue.
19
          3. Mechanisms or procedures that could be utilized to shorten the trial:          The parties
20
     discussed and will continue to discuss methods by which trial could be shortened. At this time,
21
     the parties have not reached an agreement on any such mechanisms or procedures. The parties


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1     prefer an in-person trial and Plaintiffs will accept a reciprocal agreement that any witness may

2     provide live remote testimony with a minimum of two weeks prior notice but 3M has not agreed

3     to this procedure. Plaintiffs will not waive a jury.

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5            Dated: April 19, 2021                   Respectfully submitted,

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                                                       ,? , ---'
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     JOINT STATUS REPORT - 3
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